          Case 2:08-cr-00376-WBS Document 333 Filed 03/13/12 Page 1 of 1


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   RUSSELL L. CARLBERG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CASE NO. S-08-376 EJG
                                           )
12                      Plaintiff,         )
                                           )            ORDER
13   v.                                    )
                                           )
14                                         )
     KESHA HAYNIE,                         )
15                      Defendant(s).      )
                                           )
16                                         )
17
18
     IT IS HEREBY ORDERED THAT:
19
          Good cause having been shown, the government may make the
20
     disclosures and produce the discovery to the defense as requested in
21
     its application of March 13, 2012.
22
          IT IS SO ORDERED.
23
24   Date:_March 13, 2012             /s/ Edward J. Garcia         _______
                                      _____________________________
25                                    Hon. EDWARD J. GARCIA
                                      United States District Judge
26
27
28

                                           1
